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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA


v.                                             CRIMINAL ACTION NO.

NIJAJUAN HOWARD,                                3:04CR00138 (JCH)
        Defendant.

                                                APRIL 14, 2008


                             ORDER TO SHOW CAUSE

      The defendant is hereby ORDERED to SHOW CAUSE by May 15, 2008, why

he should be re-sentenced pursuant to 18 U.S.C. § 3562(c)(2) and (994(u), and to

what term. The court has not yet determined to re-sentence.

      Counsel are directed to confer before May 15, 2008, and if the government and

the defendant are in agreement, to report such to the court by May 15, 2008.



SO ORDERED.

      Dated at Bridgeport, Connecticut this 14th day of April, 2008.


                                        /s/ Janet C. Hall
                                        Janet C. Hall
                                        United States District Court
